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                                           STATE OF NEW YORK
                                     OFFICE OF THE ATTORNEY GENERAL
LETITIA JAMES                                                                                JANE M. AZIA, CHIEF
ATTORNEY GENERAL                                                          C ONSUMER F RAUDS AND P ROTECTION B UREAU
                                                                                               KATE M ATUSCHAK
                                                                                       ASSISTANT ATTORNEY GENERAL
                                                                               E-MAIL: KATE.MATUSCHAK@AG. NY. GOV
                                                                                                      (212) 416-6189


                                             May 12, 2022

   By ECF

   Hon. Louis L. Stanton, U.S.D.J.
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007

            Re:     FTC et al. v. Quincy Bioscience Holding Co., Inc. et al. (No. 17-cv-00124-LLS)

   Dear Judge Stanton:

           Plaintiff the People of the State of New York, by Letitia James, Attorney General of the
   State of New York (“NYAG”), respectfully submits this reply to Defendant Mark Underwood’s
   May 11, 2022 letter [Dkt. No. 244] in response to the NYAG’s May 6, 2022 letter-motion for
   leave to file a cross-motion for summary judgment [Dkt. No. 242].

           As noted in the NYAG’s Opposition to Underwood’s Motion for Partial Summary
   Judgment (filed May 6, 2022) [Dkt. Nos. 236 & 237] (“Opposition”), this Court has the
   discretion to grant summary judgment to a nonmovant, the NYAG. (Opposition at 21-22.) The
   NYAG’s opposition brief presents more than adequate basis for summary judgment in the
   NYAG’s favor on the issue of personal jurisdiction over the NYAG’s claims against Underwood.
   For the reasons stated in the NYAG’s Opposition, summary judgment on this issue is warranted
   and justified. Moreover, a grant of summary judgment would promote judicial economy by
   resolving an issue that the parties and the Court have already confronted multiple times. It
   would also, appropriately, remove a legal issue based on undisputed facts from the jury’s charge.

           Should the Court prefer a formal motion before granting such relief, the NYAG has
   requested leave to file such a motion in its letter-motion [Dkt. No. 242]. Underwood does not
   cite any rule that prohibits the NYAG from seeking such leave. Instead, he inexplicably argues
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that the NYAG’s brief in opposition to his motion is somehow a motion in itself. No motion,
however, has been filed, nor will it be filed unless and until the Court grants leave.

                                           Respectfully submitted,

                                           /s/ Kate Matuschak
                                           Kate Matuschak
                                           Assistant Attorney General
                                           New York State Office of the Attorney General




cc:    Counsel of Record (via ECF)
